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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                        Case No. 19-MC-80024

   PUES FAMILY TRUST IRA, BY MICHAEL PUES,
   EXECUTOR OF THE ESTATE,

          Plaintiff,

   v.

   PARNAS HOLDINGS INC., and LEV PARNAS,
   INDIVIDUALLY,

          Defendants,
                                                /

                      PLAINTIFF’S MOTION TO COMPEL PRODUCTION
                     FROM NON-PARTY AMERICA’S FIRST ACTION, INC.

          Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Plaintiff PUES

   FAMILY TRUST IRA, BY MICHAEL PUES EXECUTOR OF THE ESTATE (“Pues”)

   moves to compel Non-Party America’s First Action, Inc. (“AFA”), to produce documents

   in accordance with the Subpoena issued to AFA and duly served June 20, 2019, and as

   grounds states:

                                   I.       INTRODUCTION

          On March 28, 2016 judgment creditor Pues obtained a final judgment against judgment

   debtors, PARNAS HOLDINGS, INC. (“PHI”), and LEV PARNAS (“Parnas”), in the amount of

   $510,434.70, with interest to accrue at the statutorily prescribed rate.   (hereinafter the

   “Judgment”). The Judgment was entered by the United States District Court for the Eastern

   District of New York Case No. 11-CV-05537 and registered in this Court.
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          Post Judgment discovery has been active and ongoing, and Pues served several

   subpoenas in aid of execution to various financial institutions in which Parnas had financial ties.

   It was discovered through these subpoenas, that a fraudulent conveyance of $325,000.00 from an

   account owned and controlled by defendant Parnas, was made to AFA. The $325,000.00 was

   disclosed to the Federal Election Commission as a transfer from a Parnas-held limited liability

   company, but records obtained by Pues show that this was clearly fabricated by Defendants and

   possibly AFA in violation of campaign finance laws and to defraud Pues.1

          In order to obtain more information about this fraudulent conveyance, Pues after noticing

   Defendants in accordance with the applicable rules (and no objection by Defendants being

   made), served a Subpoena for Production of Documents on AFA on June 20, 2019 (hereinafter

   the “AFA Subpoena” attached as Exhibit 1). The AFA Subpoenas requests relevant information

   regarding the $325,000.00 transfer from Parnas to AFA. AFA was to produce the documents by

   July 24, 2019. In accordance with Fed. R. Civ. P. 45(d)(2)(A), AFA had 14 days from June 20,

   2019 to make any objections. AFA failed to timely make objections, and instead of producing

   documents, on July 24, 2019, AFA served untimely objections all of which are general and

   boilerplate. On August 21, 2019 the undersigned counsel contacted counsel for AFA informing

   AFA’s counsel that the objections posited were untimely and asked AFA’s counsel if documents

   would be produced. AFA’s counsel vaguely stated that it might produce some documents in

   “about a week.” On August 23, 2019 AFA’s counsel contacted the undersigned and said that

   AFA would need to produce under a protective order, which was relief not sought in its bad faith

   objections nor have even the Defendants moved for such relief. As such, Plaintiff is forced to file

   this motion.

   1
    The underlying transaction is explained in greater detail in Plaintiff’s Amended Motion to
   Commence Proceedings Supplementary and Implead Third Parties (D.E. 25).


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                                          II.     STANDARD
            “A person commanded to produce documents or tangible things or to permit inspection
   may serve on the party or attorney designated in the subpoena a written objection to inspecting,
   copying, testing, or sampling any or all of the materials or to inspecting the premises—or to
   producing electronically stored information in the form or forms requested. The objection must
   be served before the earlier of the time specified for compliance or 14 days after the subpoena is
   served. If an objection is made, the following rules apply:
            (i) At Any time, on notice to the commanded person, the serving party may move

   the court for the district where compliance is required for an order compelling production or

   inspection.” Fed. R. Civ. P. 45(d)(2)(B)(i).

            AFA’S OBJECTIONS ARE UNTIMELY THEREFORE AFA HAS WAIVED ANY
                        OBJECTIONS TO THE AFA SUBPOENA

            AFA’s objections, served on Plaintiff July 24, 20192, thirty-four days after service of the

   AFA Subpoena, are untimely therefore they are waived. “Failure to serve written objections to

   subpoena within time frame specified in FRCP 45(c)(2)(B) typically constitutes waiver of such

   objections.” Alexander v. FBI, 186 F.R.D. 21 (D.D.C. 1998). “Ordinarily, failure to make timely

   objection to subpoena duces tecum will waive any objection.” In re Motorsports Merchandise

   Antitrust Litig., 186 F.R.D. 344, 1999-2 Trade Cas. (CCH) P72659 (W.D. Va. 1999). “Failure to

   serve written objection to a subpoena within the time specified by Fed. R. Civ. P. 45 typically

   waives any objections the party may have.” Am. Elec. Power Co., Inc. v. U.S., 191 F.R.D. 132,

   136 (SD. Ohio 1999) (citing Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44. [**28] 48

   (S.D.N.Y. 1996); Angell v. Shawmut Bank Connecticut Nat'l Assoc., 153 F.R.D. 585, 590

   (M.D.N.C.1994).

            AFA’s objections, served July 24, 2019, which was the date of compliance with the



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       A copy of AFA’s objections is attached as Exhibit 2.


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   subpoena were not timely served, and therefore should be deemed waived. As of the writing of

   this motion August 23, 2019 (now two months after service of the AFA Subpoena), no

   documents have been received which are responsive to the AFA Subpoena. It is clear that AFA

   has waived any such objections to the Subpoena contained in its objections. In Universal City

   Dev. Ptnrs, Ltd. v. Ride & Show Eng'g, Inc., 230 F.R.D. 688, (M.D. Fla. 2005), the U.S. District

   Court for the Middle District of Florida held a commanded party who failed to time object to a

   Rule 45 subpoena and failed to furnish a privilege log waived its objections. The facts at issue

   here are near identical to those in the Universal case. In that case attorney client privilege and

   other privileges were waived as a result of the subpoenaed party not timely objecting within the

   14-day window (from service of the subpoena at issue) in that case. AFA has made no colorable

   attempt to comply with the rules and at best is using its bad-faith objections to hold up

   production and at worst is covering up possible campaign finance violations.

          Even if the Court is inclined to consider the untimely objections, AFA’s objections must

   still be overruled because the whole of AFA’s objections are merely boilerplate objections,

   which the Court should not consider. Furthermore, in the couple of instances where a privilege

   is implicated, no privilege log has been furnished by AFA nor have they indicated what type or

   class of document that would be in its possession to give notice to Plaintiff as to whether the

   alleged privilege would even apply.

          “In context of Fed. R. Civ. P. 45(d)(2), U.S. District Court, uses 14-day objection period

   as default guideline and makes case-by-case determination, taking into account following

   factors: degree to which objection or assertion of privilege enables litigant seeking discovery and

   court to evaluate whether each of withheld documents is privileged (where providing particulars

   typically contained in privilege log is presumptively sufficient and boilerplate objections are




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   presumptively insufficient); timeliness of objection and accompanying information about

   withheld documents (where service within 30 days, as default guideline, is sufficient); magnitude

   of document production; and other particular circumstances of litigation that make responding to

   discovery unusually easy (such as here, fact that many of same documents were subject of

   discovery in earlier action) or unusually hard.” Id. at 698.

          Furthermore, in Florida District Courts its well-established that boilerplate objections do

   not prevent discovery from being sought. Griffin v. GEICO Gen. Ins. Co., No. 4:11CV104-

   RS/WCS, 2011 WL 13235056, at *3 (N.D. Fla. Oct. 25, 2011); see also Zale Delaware, Inc.,

   2008 WL 5255555, at *1 (“Parties are not permitted to assert these types of conclusory,

   boilerplate objections that fail to explain the precise grounds that make the request objectionable.

   . . . Objections stating that a request is ‘vague,’ ‘overly broad,’ or ‘unduly burdensome’ are

   meaningless standing alone.”). “To even merit consideration, ‘an objection must show

   specifically how a discovery request is overly broad, burdensome or oppressive, by submitting

   evidence or offering evidence which reveals the nature of the burden.’” Henderson v. Holiday,

   269 F.R.D. 682, 686 (S.D. Fla. 2010); see also Griffin, 2011 WL 13235056, at *3 (explaining

   that the opposing party “must state with specificity the objection and how it relates to the

   particular request being opposed, and not merely that it is ‘overly broad and burdensome’ or

   ‘oppressive’ or ‘vexatious’ or ‘not reasonably calculated to lead to the discovery of admissible

   evidence’”) (citing Harding v. Dana Transport, Inc., 914 F. Supp. 1084, 1102 (D. N.J. 1996)); In

   re Application of Republic of Ecuador, 4:11MC73-RH/WCS, 2011 WL 10618727, at *5 (N.D.

   Fla. Aug. 24, 2011) (same); Coker v. Duke & Co., 177 F.R.D. 682, 686 (M.D. Ala. 1998) (“The

   resisting party must make a particular and specific demonstration of fact and cannot rely on

   simple conclusory assertions about the difficulty of complying with a discovery request.”). As




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   this Court has repeatedly stated, “[b]urden cannot be determined without knowing how the

   information is organized, how much there is, and where the information is kept. The parties

   cannot confer in good faith to try to resolve a discovery dispute without an understanding of the

   nature of the dispute, and the court cannot grant relief in a vacuum.” Griffin, 2011 WL

   13235056, at *3 (overruling all boilerplate objections); see also Russell v. Fast Payday Loans,

   Inc., No. 4:07CV488-SPM/WCS, 2008 WL 11338347, at *1 (N.D. Fla. June 27, 2008)

   (explaining that “[I]ntoning the ‘overly broad and burdensome’ litany, without more, does not

   express a valid objection. . . . Objections which state that a discovery request is ‘vague, overly

   broad, or unduly burdensome’ are, by themselves, meaningless . . . .”) (internal citations

   omitted); see also Planet Bingo, LLC v. Kerr, No. 5:10CV315/RS/EMT, 2011 WL 13238348, at

   *3 (N.D. Fla. Oct. 27, 2011) (same); In re Application of Republic of Ecuador, 2011 WL

   10618727, at *5 (same)

           The AFA Subpoena is narrowly tailored to seek relevant information regarding one

   specific transaction which was made by Judgment Debtor Parnas. The requested documentation

   is not onerous or overly burdensome, and presumably if the documentation sought were so vital

   and confidential AFA would have timely objected to the subpoena or even had counsel contact

   Plaintiff’s counsel prior to July 24, 2019 (the serving of AFA’s untimely objections) to discuss

   scope. AFA and its counsel did none of that. The entirety of AFA’s objections are mere

   boilerplate objections and should not preclude AFA from fully producing the documents with no

   restriction.




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                                            Conclusion

          WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests the entry of
   an order:
          (1) overruling AFA’s Objections

          (2) compelling AFA to produce documents responsive to the AFA Subpoena as soon
              as possible.

          (3) granting any further or other relief the Court deems just and appropriate.

                      CERTIFICATE OF GOOD FAITH CONFERENCE

          The undersigned hereby certify that they have conferred with counsel for AFA in

   writing in an attempt to resolve the matters raised in this motion.

   Dated: August 23, 2019                             ANDRE LAW FIRM P.A.
                                                      Counsel for judgment creditor
                                                      18851 N.E. 29th Ave Suite 724
                                                      Aventura, FL 33180
                                                      Tel. 786 708 0813
                                                      Fax. 786 513 8408
                                                      Designated email: andre@andrelaw.com

                                                      By:           /s/ Tony Andre
                                                             Tony Andre, Esq.
                                                             Florida Bar No. 40587




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                                  CERTIFICATE OF SERVICE

           I certify that on August 23, 2019 I filed the foregoing document with the Clerk of the
   Court using CM/ECF. I also certify that the foregoing document is being served this day on all
   counsel of record or pro se parties as identified below in the manner delineated, either via
   transmission of a Notice of Electronic Filing generated by CM/ECF or in some other authorized
   manner for those counsel or parties who are not authorized to receive the Notice of Electronic
   Filing electronically.

          Chris Draper, Esq.
          Greenspoon Marder
          525 Okeechobee boulevard Suite 900
          West Palm Beach FL 33401
           Attorneys for Judgment Debtors/Global Energy Producers, LLC

          David S. Torborg
          Jones Day
          51 Louisiana Ave., NW
          Washington, DC 20001
           Attorneys for America’s First Action, Inc.
                                                      /s/ Tony Andre
                                               Tony Andre, Esq.




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